 Case 1:22-mc-03696-HG-PK Document 13-12 Filed 09/28/22 Page 1 of 5 PageID #: 296
                                                 Tuesday, September 27, 2022 at 13:52:36 Central Daylight Time


Subject:        Re: Yee Documents
Date:           Wednesday, April 13, 2022 at 9:19:45 AM Central Daylight Time
From:           Cal Mayo
To:             Dimon, Anna G., Yitz Kopel
CC:             Boyle, Edward P.

AGachments: image001.png, image002.png

Anna, thanks.

Yitz, send your signature page when you can.

I can produce documents later today.

The following documents are withheld based on a>orney-client privilege:

2019.09.04 Email from Janet Donaldson to Robert Gholson (GC) with cc to Chris Winstead, Donald Yee,
and Marcia Landen – The balance of the email chain, ending with an email dated 2019.09.03 from
Spartan Mosquito to Donald Yee, was previously produced.

2020.05.05 Email chain between Gordon Cannon and Donald Yee re seeking legal advice concerning
disclosure of test results

2020.05.06 Email chain between Gordon Cannon and Donald Yee re seeking legal advice concerning
contacts from Jeremy Hirsch including emails to/from Robert Gholson (GC)

Cal


                             J. Cal Mayo, Jr.
                             Mayo Mallette
                             Oxford & Jackson Offices

                             E: cmayo@mayomallette.com
                             O: 662.236.0055 J: 601.366.1106
                             D: 662.513.4897 C: 662.801.3837
                             2094 Old Taylor Road, Suite 200 | Oxford, MS 38655
                             4400 Old Canton Road, Suite 150 | Jackson, MS 39211
                             mayomallette.com




From: "Dimon, Anna G." <AGDimon@Venable.com>
Date: Tuesday, April 12, 2022 at 5:41 PM
To: Cal Mayo <cmayo@mayomalle>e.com>, Yitz Kopel <ykopel@bursor.com>
Cc: "Boyle, Edward P." <EPBoyle@Venable.com>                                                          "L"
Subject: RE: Yee Documents

Thank you, Cal. Please ﬁnd a>ached the agreement executed on behalf of AC2T. We look forward to receiving

                                                                                                        Page 1 of 5
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the remainder of the responsive documents.

Best,
Anna

From: Cal Mayo <cmayo@mayomalle>e.com>
Sent: Tuesday, April 12, 2022 5:54 PM
To: Dimon, Anna G. <AGDimon@Venable.com>; Yitz Kopel <ykopel@bursor.com>
Cc: Boyle, Edward P. <EPBoyle@Venable.com>
Subject: Re: Yee Documents

CauHon: External Email



Counsel,

I was able to get to the agreement. Here is the ﬁnal version ready for signature. I accepted the edit and
made no other changes.

Cal

                             J. Cal Mayo, Jr.
                             Mayo Mallette
                             Oxford & Jackson Offices

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                             4400 Old Canton Road, Suite 150 | Jackson, MS 39211
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From: Yitz Kopel <ykopel@bursor.com>
Date: Tuesday, April 12, 2022 at 10:59 AM
To: "Dimon, Anna G." <AGDimon@Venable.com>
Cc: Cal Mayo <cmayo@mayomalle>e.com>, "Boyle, Edward P." <EPBoyle@Venable.com>
Subject: Re: Yee Documents

This is ﬁne.

On Mon, Apr 11, 2022 at 5:09 PM Dimon, Anna G. <AGDimon@venable.com> wrote:
  Hi All,

  Minor proposed edit reﬂected in the a>ached in track. If this is acceptable, we will execute.

  Thank you,
  Anna




                                                                                                     Page 2 of 5
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 From: Yitz Kopel <ykopel@bursor.com>
 Sent: Monday, April 4, 2022 6:25 PM
 To: Cal Mayo <cmayo@mayomalle>e.com>
 Cc: Dimon, Anna G. <AGDimon@Venable.com>; Boyle, Edward P. <EPBoyle@Venable.com>
 Subject: Re: Yee Documents

 CauHon: External Email



 Alright, your proposal looks ﬁne to me.

 On Mon, Apr 4, 2022 at 6:23 PM Cal Mayo <cmayo@mayomalle>e.com> wrote:
   Yitz,

   Dr. Yee will not consent to the jurisdichon of the New York court for purposes of the subpoena, the
   document produchon, or the deposihon.

   Cal

   J. Cal Mayo, Jr.
   Mayo MalleGe
   Oxford and Jackson Oﬃces

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   4400 Old Canton Road, Suite 150 | Jackson, MS 39211
   mayomalle>e.com


           On Apr 4, 2022, at 4:50 PM, Yitz Kopel <ykopel@bursor.com> wrote:

           Cal - there's already a protechve order in place in this achon. Any reason you can't
           designate the docs under this?

           On Fri, Apr 1, 2022 at 3:45 PM Cal Mayo <cmayo@mayomalle>e.com> wrote:
             Anna and Yitz,

             A>ached is a conﬁdenhality agreement for the Yee documents and deposihon. Please let
             me know if you have any comments. Otherwise, please return the document with your
             signatures. I will then sign and date the agreement and provide you a copy with all
             signatures. I will also produce the remaining documents.

             Have a good weekend.

             Cal




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          Oxford & Jackson Offices

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   --
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   ykopel@bursor.com
   www.bursor.com

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